Case 2:23-cv-00576-TL Document 41-1 Filed 07/10/23 Page 1 of 6




                          Exhibit A
Personal data leakage warning   Submitted by:Case 2:23-cv-00576-TL
                                              Law Firm                   Document
                                                       LIN, Submission date/time:      41-1 16:14,
                                                                                  2023.05.24  FiledPrinted
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                                                                                                           by: Hocheol 2 ofDownload
                                                                                                                           6        date/time: 2023.05.24 16:18




    May 24, 2023 Examination Date



                                                     Materials for Trial
                                 Suwon District Court 2023KaHap10122 (Creditor)
                                   Suwon District Court 2023KaHap10129 (Debtor)




                                                                            Law Firm LIN
Personal data leakage warning   Submitted by:Case 2:23-cv-00576-TL
                                              Law Firm                   Document
                                                       LIN, Submission date/time:      41-1 16:14,
                                                                                  2023.05.24  FiledPrinted
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                                                                                                           by: Hocheol 3 ofDownload
                                                                                                                           6        date/time: 2023.05.24 16:18



     No need for preservation (Nexon’s application for preliminary injunction)

     ❖ No current imminent danger or the possibility of significant damage
              Nexon itself already suspended the development of the P3 game (30% developed) around 2 years ago
              Nexon’s P3 game, dropped 2 years ago, has no possibility of being released
              On Aug. 20, 2021 Nexon filed a lawsuit on the merits against Ju-Hyun Choi in Seoul Central District
              Court, but neglected the lawsuit
              * The lawsuit on the merits was filed in Seoul Central District Court rather than the competent court with jurisdiction (Suwon District Court
              or Seongnam District Court) in order to cause a delay

              Nexon checked the findings from search & seizure by the investigation agency on Jan. 20, 2022 → Was
              aware of the fact that IRONMACE was developing Dark and Darker, but took no action

     ❖ Expected outcome on the lawsuit on merits
              Nexon’s allegation presumes that Ju-hyun Choi and others secretively used Nexon’s trade secrets → No
              Nexon materials have been found during the two rounds of search & seizure by the investigation agency
              2 years of investigation by the investigation agency with a compulsory investigation right (Gyeonggi Nambu
              Provincial Police Agency Security Investigation Team specialized in trade secret investigations) → Failed to prosecute
              A case in which judgment must rendered through thorough examination such as source code analysis




        Law Firm LIN
개인정보유출주의 제출자:법무법인린, 제출일시:2023.05.24 16:14, 출력자:강호철, 다운로드일시:2023.05.24 16:18
                                 Case 2:23-cv-00576-TL Document 41-1 Filed 07/10/23 Page 4 of 6




          2023. 5. 24. 심문기일



                                                 변론자료
                             수원지방법원 2023카합10122(채권자)
                             수원지방법원 2023카합10129(채무자)




                                                        2023. 5. 24.
개인정보유출주의 제출자:법무법인린, 제출일시:2023.05.24 16:14, 출력자:강호철, 다운로드일시:2023.05.24 16:18
                                 Case 2:23-cv-00576-TL Document 41-1 Filed 07/10/23 Page 5 of 6

       보전의 필요성 부존재 (넥슨 가처분 신청)




                                                                                                  6
      Case 2:23-cv-00576-TL Document 41-1 Filed 07/10/23 Page 6 of 6




                         CERTIFICATE OF TRANSLATION

        We certify that the Korean to English translation of “M.Park – Exhibit A (PPT)” is an
accurate and complete rendering of the contents of the source document to the best of our
knowledge and ability.




                                    Date: July 10, 2023




                                       1, Gwanak-ro, Gwanak-gu, Seoul, Republic of Korea
                                                                             Bering Lab Inc.




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